                               Case 18-16962       Doc 41       Filed 03/29/19       Page 1 of 2




                                      IN THE UNITED STATES BANKRUPTCY COURT
                                           FOR THE DISTRICT OF MARYLAND
                                                 GREENBELT DIVISION
                 In re:
                 VERNON OSBORNE WILLIAMS, II,                                  CHAPTER 7
                                  DEBTOR.                                      CASE NO. 18-16962

                 CIS FINANCIAL SERVICES, INC.,
                          Respondent.
                 RESPONSE TO MOTION FOR AUTHORITY TO SELL PROPERTY OF THE ESTATE

                          Comes now, CIS Financial Services, Inc. (“Respondent and Successor in Interest to
                 Freedom Mortgage”), by counsel, submits the following in response to the Trustee’s Motion for
                 Authority to Sell Property of the Estate:
                          1.      The Respondent admits Paragraphs 1 through 3 as a matter of public record.
                          2.      The Respondent denies the allegations alleged in paragraph 4. The Respondent
                                  upon information and belief alleges that the loan held by Mr. Cooper/Nationstar
                                  was paid off in October 2016 at which time Freedom acquired the loan. .
                                  Subsequently the present secured creditor, CIS Financial Services, Inc. refinanced
                                  the Freedom Mortgage loan in August 2017. CIS has been presently servicing this
                                  loan for GNMA since September 2017.
                          3.      The Respondent neither admits nor denies allegations contained in Paragraph 5.
                                  Based on the information that CIS has, the approximate payoff is in excess of
                                  $521,000.00 and there appears to be some confusion as to who holds the note in
                                  this matter. CIS is further researching the matter for further clarification and will
                                  be amending this Response shortly according to it’s findings.
                          4.      The Respondent neither admits nor denies allegations contained in Paragraph 6.
                          5.      The Respondent admits allegations contained in Paragraph 7 upon information
                                  and belief.
                          6.      The Respondent neither admits nor denies the allegations contained in
                                  Paragraphs 8 through 10 and therefore denies the same and demands strict
                                  proof thereof.
                          7.      The Respondent neither admits nor denies allegations contained in Paragraph 11
                                  based on previous allegations in this response. CIS alleges that the Trustee
                                  never contacted them about the sale




File No. 69399
              Case 18-16962      Doc 41      Filed 03/29/19      Page 2 of 2



        WHEREFORE, the Respondent asks this Court for entry of an order directing the debtor
to provide counsel for the Respondent with the name, telephone number and fax number of the
settlement agent closing the transaction, and providing that the Respondent’s lien be paid in full
at closing.
                                                Respectfully submitted,

                                                Cis Financial Services, Inc.


                                                By: /s/Randa S Azzam
                                                Randa S. Azzam, Esquire, Bar No. 22474
                                                John E. Driscoll, Esquire, Bar No. 17161
                                                Michael T. Freeman, Esquire, Bar No. 19131
                                                Daniel J. Pesachowitz, Esquire, Bar No. 14906
                                                Samuel I. White, P.C.
                                                611 Rockville Pike
                                                Suite 100
                                                Rockville, MD 20852
                                                Tel: (301) 804-3400
                                                Fax: (301) 838-1954
                                                RAzzam@siwpc.com

                                   CERTIFICATE OF SERVICE

         I certify that on March 29, 2019, the foregoing Response was served via CM/ECF on
Merrill Cohen, Trustee, and William C. Johnson, Jr., Counsel for Debtor, at the email addresses
registered with the Court, and that a true copy was mailed via first class mail, postage prepaid, to
Vernon Osborne Williams, II, Debtor, 14407 Saint Gregory Way, Accokeek, MD 20607.

                                                /s/Randa S Azzam
                                                Randa S. Azzam, Esquire
                                                Samuel I. White, P. C.
